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 1   DWIGHT M. SAMUEL (CA SB# 054486)
     A Professional Corporation
 2   117 J Street, Suite 202
     Sacramento, California 95814-2282
 3   (916) 447-1193
 4   Attorney for Defendant
     ANGELITO EVANGELISTA
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 8                           IN THE UNITED STATES DISTRICT COURT
 9                    IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA, )                 No. CR-S-08-318 LKK
                                   )
12         Plaintiff,              )             STIPULATION AND
                                   )             ORDER
13   v.                            )
                                   )
14   ANGELITO EVANGELISTA,         )
                                   )
15         Defendant.              )
     ______________________________)
16
17          It is hereby stipulated and agreed to between, Angelito Evangelista, by and through
18   counsel, Dwight M. Samuel, Attorney at Law, and United States of America, by and through
19   Courtney Linn, Assistant United States Attorney, as follows:
20          The original court order for secured bail was for $150,000. Based upon documentation
21   provided, the actual value of the property pledged as security equals approximately $127,000.
22   Based upon the documents supplied and the fact that the amount appears satisfactory to the
23   United States Government all parties stipulate the bond for the $150,000 can be secured by the
24   property located at 1121 Visitacion Ave, San Francisco, CA 94134.
25   //
26   //
27   //
28   //
                 Case 2:08-cr-00318-DAD Document 90 Filed 08/08/08 Page 2 of 2


 1   Respectfully submitted,
 2   Dated: August 6, 2008
 3                                                     /s/ Dwight M. Samuel
                                                       DWIGHT M. SAMUEL
 4                                                     Attorney for Defendant
 5
 6
     Dated: August 6, 2008
 7                                                     /s/ Courtney Linn1
                                                       COURTNEY LINN
 8                                                     Assistant U.S. Attorney
 9   IT IS SO ORDERED.
10   Dated: August 7, 2008
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                Signed per telephonic authorization.
